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  UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                         §
                                                  §
 versus                                           §   CASE NO. 1:07-CR-104(2)
                                                  §
 DERLICK MCGRIFF                                  §

      MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge. In accordance with 18 U.S.C. § 3401(i) and 18 U.S.C. § 3583(e), Judge Giblin held a

 hearing and submitted findings of fact and a recommendation on the defendant’s plea of true. The

 defendant consented to the revocation of his supervised release and waived his right to be present

 and allocute at sentencing. The parties have not objected to Judge Giblin’s report.

          The Court ORDERS that the findings of fact and recommendation on plea of true (#106)

 are ADOPTED. The Court finds that the defendant, Derlick McGriff, violated conditions of

 supervised release and ORDERS that his supervision is REVOKED. Pursuant to Judge Giblin’s

 recommendation and the parties’ agreement, the Court ORDERS the defendant to serve a term of

 ten (10) months imprisonment, which includes 180 days of unserved community confinement time.

 The Court further ORDERS the defendant to serve a new term of supervised release for twelve

          . The conditions of supervision will be set forth in a separate revocation judgment.
 (12) months.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
            SIGNED at Beaumont, Texas, this 19th day of May, 2016.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE
